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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

ROBERT BLESS,                                 )
                                              )
              Plaintiff,                      )
                                              )            13-cv-4271
        v.                                    )
                                              )            Hon. John Z. Lee
COOK COUNTY SHERIFF’S OFFICE;                 )
TOM DART, in his individual capacity;         )
DEWATNE HOLBROOK, in his individual           )
capacity; JOSEPH WAYS, SR., in his individual )
capacity; ZELDA WHITTLER in her               )
individual capacity; SHERYL COLLINS,          )
in her individual capacity; EDWARD            )
DYNER, in his individual capacity;            )
ROSEMARIE NOLAN, in her individual            )
capacity; and the COOK COUNTY                 )
SHERRIF’S MERIT BOARD; JAMES P.               )
NALLY, Chairman; BYRON BRAZIER,               )
Vice Chairman; ROBERT F. HOGAN,               )
Secretary; KIM R. WIDUP, Board                )
Member; BRIAN J. RIORDAN, Board               )
Member; JOHN J. DALICANDRO, Board             )
Member; LANCE C. TYSON, Board                 )
Member; JOHN R. ROSALES, Board                )
Member; VINCENT T. WINTERS, Board             )
Member, in their individual capacities;       )
and COOK COUNTY, a unit of local              )
government,                                   )
                                              )
              Defendants.                     )

                     MEMORANDUM OPINION AND ORDER

       Plaintiff Robert Bless was terminated from his position as a police officer for the

Cook County Sheriff’s Office (“CCSO”) on May 3, 2013. He subsequently sued the

CCSO, seven individual CCSO employees (“Sheriff Defendants”), Sheriff Thomas Dart

in his official capacity, Cook County, the Cook County Sheriff’s Merit Board (“Merit

Board”), and members of the Merit Board in their individual capacity (“Merit Board

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Defendants”). Bless alleges his termination was unlawful due to racial discrimination

(Count I and Count II) and political retaliation on the basis of his affiliation with the

Republican Party (Count III). He also seeks administrative review of the Merit Board’s

final decision pursuant to Illinois law (Count IV).

       Defendants move to dismiss the Second Amended Complaint pursuant to Federal

Rule of Civil Procedure (“Rule”) 12(b)(6). Bless opposes dismissal and also seeks leave

to file a Third Amended Complaint. For the reasons provided herein, Counts I and III are

dismissed without prejudice as to the government entities and individuals sued in their

official capacities. Counts I and III are dismissed with prejudice as to the Merit Board

members to the extent they are sued in their individual capacities. The Court grants the

motion to dismiss Count II against all parties with prejudice. The Court denies the

motion to dismiss Counts I and III with regard to the Sheriff Defendants in their

individual capacity. Finally, the Court denies without prejudice Bless’s motion to file a

Third Amended Complaint.

                                 I. Factual Background

       Bless is a white male and a registered Republican. 2d Am. Compl ¶¶ 5, 38.

Around 1996, Bless started working for the CCSO, and he became a sworn police officer

for the CCSO in 1997. Id. ¶¶ 37–38. Bless is also an attorney licensed to practice law in

Illinois, and he practiced while serving as a police officer. Id. ¶ 39. In 2008, he became

Commissioner for McHenry County on the Republican ticket and served in that capacity

until 2012. Id. ¶ 40. Bless asserts that he submitted secondary employment requests to

the Sheriff’s Office for both his law practice and as County Commissioner, and these

requests were approved by the CCSO. Id. ¶¶ 41–42.



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        In September 2008, Bless was injured on duty and took “injury on duty” status.

Id. ¶ 43. He filed a workers compensation claim as a result of this injury. See id. In

April 2009, while Bless was on medical leave, Defendant Rosemarie Nolan initiated a

complaint against him.     Nolan requested an investigation, alleging that Bless was

working for McHenry County without a secondary employment application on file.

Id. ¶ 44. In May 2009, the Sheriff Defendants attempted to bring felony charges against

Bless. Id. ¶ 45. When the felony charges were not approved by the State’s Attorney,

Sheriff Defendants initiated administrative charges against Bless, seeking his termination

from the CCSO. Id. ¶ 46. Defendant Sheryl Collins investigated the allegations against

Bless around July 20, 2011, and recommended that Bless be terminated from the CCSO.

Id. ¶ 47.

        That same day, Defendants Edward Dyner and Joseph Ways approved the

investigation and affirmed Collins’ recommendation. Id. 48. On or around July 22, 25,

and 26 of that year, Defendants Dewayne Holbrook, Ways, and Zelda Whittler also

approved and concurred with the recommendation for Bless’s termination. Id. ¶ 49.

        In October 2011, Defendant Dart filed charges before the Merit Board, seeking

Bless’s termination. Id. ¶ 50. Dart sought termination based on allegations that Bless did

not have a secondary employment request on file at the CCSO and did not have the

proper authority to work as McHenry County Commissioner. Id. ¶ 51. Dart further

alleged that Bless did not have approval for secondary employment from 2009 through

November 2010, that Bless had held unauthorized secondary employment while

receiving temporary checks from the Cook County Insurance Benefit Fund, and that




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Bless falsely reported to investigators from the Office of Professional Review that he had

a secondary employment request on file. Id. ¶ 51.

       On May 6, 2013, the Merit Board terminated Bless. Id. ¶ 52. The Merit Board

found that Bless was not authorized to engage in secondary employment, that he had not

been given approval from 2009 through November 2010 to engage in secondary

employment, and that he had falsely reported to investigator of having a secondary

employment request on file. Id. ¶ 54.

       Bless asserts that he was treated differently from other similar-situated

comparators.   According to Bless, two non-white officers at the CCSO were given

warnings for unauthorized secondary employment but were promoted rather than

terminated. Id. ¶ 56. One additional officer at the CCSO was found guilty of engaging in

secondary employment for over nine years, but he was suspended rather than terminated.

Id. ¶ 58. According to Bless, this officer politically supports Sheriff Dart. See Id. ¶ 57–

58.

       Bless also asserts that the CCSO has a history of political retaliation. He alleges

that, because of this practice, a federal court previously appointed monitors in Shakman v.

Democratic Organization of Cook County, No. 69 C 1343 (N.D. Ill.), otherwise known as

“the Shakman decree,” to oversee the CCSO’s employment practices.                Id. ¶ 63.

Additionally, he asserts that in Burruss v. Cook Cnty. Sheriff's Office, No. 08 C 6621,

2013 WL 3754006 (N.D. Ill. July 15, 2013), a jury found the CCSO and one its top-

ranking officials guilty of political retaliation against twenty-one plaintiffs in August

2012. Id. ¶¶ 64–65. Following this jury decision, the CCSO never disciplined the top-

ranking official for his retaliatory acts. Id. ¶¶ 67. Despite this, according to Bless, none



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of the Defendants have initiated investigations into political retaliation and no top officers

at CCSO have been disciplined, despite the fact the CCSO claims to have a “zero

tolerance” policy against political retaliation. Id. ¶¶ 66–69.

                                    II. Legal Standard

       When evaluating a motion to dismiss under Federal Rule of Civil Procedure

12(b)(6), federal courts must accept as true all well-pleaded facts alleged in the complaint

and construe all reasonable inferences in favor of the non-moving party. Killingsworth v.

HSBC Bank Nev., N.A., 507 F.3d 614, 618 (7th Cir. 2009) (citing Savory v. Lyons, 469 F.

3d 667, 670 (7th Cir. 2006)). In order to state a valid claim, a plaintiff‘s complaint must

contain a “short and plain statement of the claim showing that the pleader is entitled to

relief.” Fed. R. Civ. P. 8(a)(2). A plaintiff is not required to allege “detailed factual

allegations,” but must plead facts that, when “‘accepted as true . . . state a claim to relief

that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

       To determine whether a complaint meets the Twombly plausibility standard, the

“reviewing court draw[s] on its judicial experience and common sense.” Id. at 678.

Where the factual allegations are well-pleaded, the Court assumes them to be true and

determines whether those facts give rise to a plausible entitlement to relief. Id. at 679. A

claim is facially plausible when its factual content allows the Court to draw a reasonable

inference that the defendant is liable for the actions alleged. Id. at 678. Plausibility

however “does not imply that the district court should decide whose version to believe, or

which version is more likely than not.” Swanson v. Citibank, N.A., 614 F.3d 400, 404

(7th Cir. 2010).



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                                      III. Analysis

       A. The Merit Board Defendants Are Entitled To Absolute Immunity

       The Merit Board Defendants, sued in their individual capacity, argue that all

claims against them should be dismissed pursuant to their quasi-judicial immunity from

lawsuit. The Seventh Circuit applies a “functional approach” to determinations of quasi-

judicial immunity. Wilson v. Kelkhoff, 86 F.3d 1438, 1443 (7th Cir. 1996). A court

“look[s] to the nature of the function performed, not the identity of the actor who

performed it.” Id. “Absolute immunity protects members of quasi-judicial adjudicatory

bodies when their duties are functionally equivalent to those of a judge or prosecutor.”

Heyde v. Pittenger, 633 F.3d 512, 517 (7th Cir. 2011) (concluding that members of an

Illinois county’s Board of Review, which hears complaints from taxpayers challenging

their property assessments, are entitled to judicial immunity for their decisions resolving

appeals) (citing Butz v. Economou, 438 U.S. 478, 512–13 (1978)); see also Killinger v.

Johnson, 389 F.3d 765, 770 (7th Cir. 2004) (upholding grant of judicial immunity to

mayor for actions as local liquor control commissioner in closing bar).

       In Butz, the Supreme Court identified “several characteristics of quasi-judicial

functions that courts should consider when determining whether a public official is

entitled to absolute immunity: (1) the need to assure that the individual can perform his

functions without harassment or intimidation; (2) the presence of safeguards that reduce

the need for damages actions as a means for controlling unconstitutional conduct; (3) the

insulation from political influence; (4) the importance of precedent; (5) the adversarial

nature of the process; and (6) the correctability of error on appeal.” Heyde, 633 F.3d at



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517 (citing Butz, 438 U.S. at 512). The Court’s task is to determine whether, absent the

cloak of immunity, a government decisionmaker would be compelled to “act with an

excess of caution or otherwise . . . skew their decisions in ways that result in less than full

fidelity to the objective and independent criteria that ought to guide their conduct.”

Forrester v. White, 484 U.S. 219, 223 (1988).

       Here, when assessed against the Butz factors, the Court concludes that the duties

performed by the members of the Merit Board are sufficiently quasi-judicial in nature to

warrant absolute immunity. First, employment disputes, like other disputes that Illinois

has delegated to administrative boards, are “inherently controversial and likely to result

in disappointed parties and, unless checked, a multitude of lawsuits.” Heyde, 633 F.3d at

519. It is imperative that members of the Merit Board feel free to adjudicate employment

disputes within the CCSO without fear of litigation.

       Second, Merit Board members are constrained by procedural safeguards

controlling unconstitutional conduct. Their decisions are subject to judicial review under

the provisions of the Illinois Administrative Review Law, see 55 Ill. Comp. Stat. § 5/3-

7012, and individuals before the Merit Board are afforded a “full opportunity to be heard

in his or her own defense and to produce proof in his or her defense.” Id.

       Third, the Merit Board is insulated from political influence through statutory

provisions preventing one political party to claim more than three Board positions. 55 Ill.

Comp. Stat. § 5/3-7002.        In retort, Bless argues that the Merit Board’s political

safeguards are ineffective because the Sheriff appoints the Board Members. In essence,

Bless’s argument is that the Board functions merely as a pretext to mask the Sheriff’s

unlawful employment decision.        But political appointment is not synonymous with



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political influence. See Tobin for Governor v. Illinois State Bd. of Elections, 268 F.3d

517, 526 (7th Cir 2001) (holding that a state election board was entitled to quasi-judicial

immunity, even though the members of that board were political appointees). The salient

inquiry is not how Merit Board member are appointed, but whether the appointment

process renders their deliberations captive to the political process. See id. (“[I]f the rule

were otherwise, state judges who are elected would not be entitled to absolute

immunity.”).

       As for the fourth Butz factor, Bless contends that the Merit Board does not

consider its own precedents. But he provides no facts to support this contention, and

even if he had, the argument would fail, because judicial review of the Board’s decisions

provides a sufficient safeguard against such risks. See, e.g., Piecuch v. Cook County

Sheriff Merit Board, 726 N.E.2d 22, 26–27 (Ill. App. Ct. 2001) (Illinois state court

applying precedent on an appeal from Merit Board decision).

       Lastly, the fifth and the sixth Butz factors also point towards immunity. Bless was

represented by counsel before the Merit Board, and the Board’s decision can be appealed

pursuant to 735 Ill. Comp. Stat. § 5/3-102.

       For these reasons, the Court concludes that the individual members of the Merit

Board fall within the zone of quasi-judicial immunity as outlined by the Supreme Court

in Butz. Accordingly, they are protected from Plaintiff’s claims under the doctrine of

absolute immunity, and Defendants’ motion to dismiss Counts I, II and III against the

Merit Board members in their individual capacities is granted.




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       B. Count I - Reverse Discrimination Under § 1983

       Defendants additionally argue that Plaintiff’s race discrimination allegations are

insufficient to state a claim under 28 U.S.C. § 1983.         “When the plaintiff alleges

intentional discrimination, as here, it is clear that the same standards in general govern

liability under sections 1981, 1983, and Title VII.” Friedel v. City of Madison, 832 F.2d

965, 971 (7th Cir. 1987). In order to prevail on an equal protection claim under § 1983, a

plaintiff must allege that “(1) he is a member of a protected class; (2) he was qualified for

the applicable positions; (3) he suffered an adverse employment action; and (4) similarly-

situated persons not in the protected class were treated more favorably.” McGowan v.

Deere & Co., 581 F.3d 575, 579 (7th Cir. 2009).

       Defendants argue that, because this is a reverse discrimination case, the “plaintiff

must show background circumstances that demonstrate that a particular employer has

reason or inclination to discriminate invidiously against whites or evidence that there is

something fishy about the facts at hand.” Hague v. Thompson Distribution Co., 436 F.3d

816, 820–21 (7th Cir. 2006) (internal quotations omitted).         But Hague addressed a

decision on a motion for summary judgment and did not create a new pleading standard.

See Wyss v. Compact Industries, Inc., No. 13 C 05135, 2014 WL 960846, at *22 (N.D.

Ill. Mar. 12, 2012); Pope v. Clerk of the Circuit Court of Cook Cnty., No. 10 C 5115,

2011 WL 1004640, at *4 (N.D. Ill. Mar. 17, 2011). This is important, because the

Supreme Court has stated that the pleading standard for employment discrimination is

different from the evidentiary burden a plaintiff must meet at summary judgment or trial.

Swierkiewicz v. Sorema N.A., 534 U.S. 506, 511 (2002) (holding that requirements for

establishing prima facie claim in discrimination case does not apply at pleading stage).



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 The Seventh Circuit echoed this sentiment in Tamayo v. Blagojevich, 526 F.3d 1074 (7th

 Cir. 2008), decided in the wake of Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007)

 and Ashcroft v. Iqbal, 556 U.S. 662 (2009), holding that, in an employment

 discrimination case, “the complaint merely needs to give the defendant sufficient notice

 to enable him to begin to investigate and prepare a defense.” Tamayo, 526 F.3d at 1085.

 “Neither Iqbal nor Twombly overruled Swierkiewicz, and it is our duty to apply the

 Supreme Court’s precedents unless and until the Supreme Court itself overrules them.”

 Luevano v. Wal-Mart Stores, Inc., 722 F.3d 1014, 1028 (7th Cir. 2013). With these

 standards in mind, the Court turns to an examination of Defendants’ motions to dismiss

 Count I.

                1. The Individual Sheriff Defendants

        Bless has met the minimal pleading standard required to state a § 1983 claim of

 racial discrimination against the Sheriff Defendants. He has alleged that he suffered an

 adverse employment action — his termination. He also has alleged that similarly situated

 non-white employees did not suffer this action.           These facts make his reverse

 discrimination claim plausible. In response, Defendants argue that Bless has merely

 recited a bare-bones recitation of the elements of a race discrimination claim. But Bless

 has provided the names of the allegedly similarly situated employees, going beyond the

 Seventh Circuit’s pleading standard. See Carlson v. CSX Transp., Inc., 758 F.3d 819,

 830 (7th Cir. 2014) (Plaintiffs alleging discrimination typically are “not required to

 identify similarly situated comparators at the pleading stage.”).

        In addition, Defendants argue that Bless has not sufficiently alleged that each of

 the Sheriff’s Defendants was personally involved in his termination. But the Second



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 Amended Complaint clearly asserts that Defendant Nolan initiated an investigation

 against Bless; Defendant Collins investigated the allegations; Defendants Dyner and

 Ways affirmed Collins’s recommendation for termination; Defendants Holbrook, Ways,

 and Whittler signed off on a review of the allegations; and Defendant Dart filed the

 charges for termination.    Bless has explained how each of the individual Sheriff’s

 Defendants participated in a process allegedly tainted by discriminatory motives. While

 Bless has not alleged particular facts about the motivations of each of the Sheriff’s

 Defendants, a plaintiff “cannot be faulted for not pleading on the basis of personal

 knowledge.” Brown v. Budz, 398 F.3d 904, 914 (7th Cir. 2005).

        Defendants also argue that Bless has not alleged background circumstances that

 demonstrate that an employer has a reason or inclination to discriminate or evidence that

 indicates something “fishy” about the facts of the case. See Phelan v. City of Chicago,

 347 F.3d 679, 684 (7th Cir. 2003). It is true that Bless will have to show something more

 than his single instance of racial discrimination to establish a motivation for racial

 hostility within the CCSO. See, e.g., Nagle v. Vill. of Calumet Park, 554 F.3d 1106, 1119

 (7th Cir. 2009); Hague, 436 F.3d at, 822 (7th Cir. 2006); Ballance v. City of Springfield,

 424 F.3d 614, 618 (7th Cir. 2005); Mills v. Health Care Service Corp., 171 F.3d 450, 455

 (7th Cir. 1999). But, as noted, such a deficiency does not doom his case at the pleading

 stage. Wyss, 2014 WL 960846 at *2.

        Bless has sufficiently stated a plausible reverse discrimination claim against the

 individual Sheriff Defendants. Consequently, Defendants’ motion to dismiss Count I

 against the Sheriff Defendants is denied.




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                2. The Government Entities

        Bless also brings his reverse discrimination claim against various government

 entities, alleging that Sheriff Dart in his official capacity, the CCSO, the Merit Board, and

 Cook County all are liable for race discrimination. To allege that a government entity is

 liable for unconstitutional conduct under Monell v. Department of Social Services of City

 of New York, 436 U.S. 658 (1978), “a plaintiff must show that his constitutional injury

 was caused by (1) the enforcement of an express policy of the [public entity], (2) a

 widespread practice that is so permanent and well settled as to constitute a custom or

 usage with the force of law, or (3) a person with final policymaking authority.” Wragg v.

 Vill. of Thornton, 604 F.3d 464, 467–68 (7th Cir. 2010). Here, Bless does not allege that

 an express policy of reverse discrimination existed at the CCSO and instead tries to base

 a Monell claim on the latter two theories.

        With respect to the existence of a “widespread custom or practice,” the Seventh

 Circuit has not adopted any bright line rules in defining that term, except that the

 allegedly unconstitutional conduct “must be more than one instance.” Thomas v. Cook

 Cty. Sheriff’s Dep’t., 604 F.3d 293, 303 (7th Cir. 2010). Bless has not met this minimal

 standard. Bless does not put forth any instance of racial discrimination other than his

 own termination.     Any additional allegations of race discrimination in his Second

 Amended Complaint are vague and conclusory. “The tenet that a court must accept a

 complaint’s allegations as true is inapplicable to threadbare recitals of a cause of action’s

 elements, supported by mere conclusory statements.” Iqbal, 556 U.S. at 663.

        The only option remaining for Bless to allege municipal liability is to argue that a

 person with “final policymaking authority” has caused his constitutional injury. “In order



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 to have final policymaking authority, an official must possess ‘[r]esponsibility for making

 law or setting policy,’ that is, ‘authority to adopt rules for the conduct of government.’”

 Killinger, 389 F.3d at 771.     Courts identify those officials with final policymaking

 authority by “[r]eviewing the relevant legal materials, including state and local positive

 law, as well as ‘custom or usage having the force of law.’” Id.

        Under Illinois law, the Cook County Merit Board has final policymaking

 authority with respect to employment decisions in the CCSO. See 55 Ill. Comp. Stat. §

 5/3-7012. Unless Bless can point to a state or municipal law that has delegated this

 authority to one of the other governmental defendants, no other individual within the

 CCSO would qualify. See Graham v. Vill. of Dolton, No. 10 C 1562, 2011 WL 43026, at

 *7 (N.D. Ill. Jan. 6, 2011).

        This leaves only the Merit Board as a potential policymaker liable for Bless’s

 constitutional deprivation. However, Bless has not explained how the Merit Board, as an

 adjudicatory board and not his employer, could be liable for his employment deprivation.

 See Averhart v. Sheriff of Cook Cty.,752 F.3d 1104, 1106 (7th Cir. 2014) (affirming a

 district court conclusion that Cook County jail guard did not have a discrimination claim

 against Merit Board because “it was an adjudicatory body rather than her employer”). It

 should be noted that dismissing the Monell claim against the Merit Board does not leave

 Bless without legal recourse; he can seek review of its decisions under state law. See,

 e.g., Walsh v. Board of Fire & Police Commissioners, 449 N.E.2d 115 (Ill. 1983).

        Because Bless has failed to allege facts allowing the Court to infer an official

 policy of race discrimination, an unofficial practice of race discrimination, or a decision

 by a policymaker to engage in race discrimination, he has failed to state a Monell claim



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 against the governmental defendants. As such, the Court grants the Defendants’ motion

 to dismiss Count I against Sheriff Dart in his official capacity, the CCSO, the Merit

 Board, and Cook County.

        C. Count II - Reverse Discrimination Under § 1981

        Defendants argue that Count II should be dismissed because the Seventh Circuit

 recently held that § 1981 does not create a private right of action against state actors.

 Defendants are correct. Allegations of §1981 violations must be brought against state

 actors through § 1983. Campbell v. Forest Preserve Dist. of Cook County, Ill., 752 F.3d

 665, 667 (7th Cir. 2014). Because Bless has only sued state actors and §1981 does not

 create a private right of action against them, the Court grants Defendants’ motion to

 dismiss Count II.

        D. Count III – First Amendment Retaliation Under § 1983

        Turning to Bless’s § 1983 claim predicated upon the First Amendment, Bless

 alleges that Defendants targeted him due to his role as a Republican County

 Commissioner. To state a First Amendment retaliation claim, the plaintiff must plausibly

 allege that “(1) he engaged in activity protected by the First Amendment, (2) he suffered

 an adverse action that would likely deter future First Amendment activity, and (3) the

 First Amendment activity was ‘at least a motivating factor’ in the defendants’ decision to

 retaliate.” Santana v. Cook Cnty. Bd. of Rev., 679 F.3d 614, 622 (7th Cir. 2012).

                1. The Individual Sheriff Defendants

        First, Bless alleges that he was terminated because he was holding office as a

 Republican. Generally a “plaintiff’s interest in seeking office, by itself, is not entitled to

 constitutional protection” Newcomb v. Brennan, 558 F.2d 825, 828 (7th Cir. 1977). But,



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 construing the allegations in Plaintiff’s favor, Bless is not claiming that he was fired

 because he merely held a public office, but because he was a Republican holding a public

 office. First Amendment protection is triggered if “a state official wish[es] to discourage

 [a] candidacy in particular.” Id. It was Bless’s viewpoint as a Republican Commissioner

 that is at the core of his retaliation claim. A person’s interest in running for office and

 “thereby expressing his political views without interference from government officials

 who wished to discourage the expression of those views lies at the core of the values

 protected by the First Amendment.” Id. at 829. Thus Bless has satisfied the first prong of

 a political retaliation claim.

         Bless clearly has met the second prong: his termination constitutes an adverse

 action. See Massey v. Johnson, 457 F.3d 711, 716 (7th Cir. 2006) (“[B]ecause both

 plaintiffs were terminated, it is undisputed that each suffered a deprivation likely to deter

 the exercise of free expression.”).

         Turning to the third prong, the burden of establishing motivation on retaliation

 claims is “divided between the parties.” See Surita v. Hyde, 665 F.3d 860, 874 (7th Cir.

 2011). First, the plaintiff must demonstrate that the protected speech was a motivating

 factor, or sufficient condition, of the dismissal. See Greene v. Doruff, 660 F.3d 975, 978

 (7th Cir. 2011) (“A ‘motivating factor,’ as the term is used in the cases, is a sufficient

 condition, but never a necessary one[.]”). Next, the burden shifts to the defendant to

 show that it would have taken the same action whether or not the plaintiff had engaged in

 the speech, in other words, that the speech was not a necessary condition or but-for cause

 of the dismissal. Id. at 979. Here, at the pleading stage, the Court need only determine




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 whether the plaintiff has alleged enough facts to meet his burden. See Santana, 679 F.3d

 at 622.

           Bless’s Second Amended Complaint does just that. Bless alleges that he held

 public office and that he submitted a secondary employment form informing the Sheriff’s

 Office about his position.      He also alleges that a similarly situated employee with

 political views that aligned with Sheriff Dart was not terminated.          For their part,

 Defendants argue that Bless must specifically allege that the Defendants had knowledge

 that he was a Republican. It is quite possible that the Defendants knew nothing of

 Bless’s secondary employment, or if they did, that they did not know that he was a

 Republican. But it also is possible that the employment form revealed Bless’s affiliation

 with the Republican Party or that Bless’s position was widely known throughout the

 office. At this stage, it is not clear, and Bless receives the benefit of the inference. The

 particulars regarding who knew what and when are “better left for decision at the

 summary judgment stage on a more developed factual record.” Zimny v. Cook Cnty.

 Sheriff‘s Office, 2014 WL 4555302, at *4 (N.D. Ill. Sept. 15, 2014) (finding the court

 could infer knowledge of political expression from allegations that an employee engaged

 in political campaigning) (reconsidered on other grounds).

           For now, Bless needs only to give “enough details about the subject-matter of the

 case to present a story that holds together.” Swanson v. Citibank, N.A., 614 F.3d 400,

 404 (7th Cir. 2010). Bless has presented a plausible story—that his public position as a

 Republican prompted retaliation by individuals in a government office headed by a

 member of the opposing political party. Bless has supported this story by pointing to a

 similarly situated employee of a different political persuasion who was not terminated.



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 Thus, he has stated a political retaliation claim under § 1983, and the Defendants’ motion

 to dismiss Count III against the Sheriff Defendants is denied.

        2. The Government Entities

        Bless also alleges that Sheriff Dart in his official capacity, the CCSO, the Merit

 Board, and Cook County are liable for political retaliation. Here again, Bless must

 allege, under Monell, that the political retaliation was the result of an express policy, a

 widespread practice, or a final decision of a person with policymaking authority. Wragg,

 604 F.3d at 467–68. Bless has not alleged that the CCSO has an express policy of

 political retaliation. Just as in the context of race discrimination, a plaintiff must allege

 “more than one instance” to establish a widespread practice of political retaliation. See

 Thomas, 604 F.3d at 303. The plaintiff must demonstrate that there is a policy at issue

 rather than just a random event. Id. “This may take the form of an implicit policy or a

 gap in expressed policies or a series of violations[.]” Id. (internal citations omitted).

        There are two avenues by which Bless tries to allege a widespread practice. The

 first is by alleging multiple instances of retaliation. In addition to comparing his own

 termination with one another similarly situated employee, Bless points to the Shakman

 and Burruss cases to establish the existence of widespread retaliation within the CCSO.

 But the Court cannot infer solely from the existence of the Shakman decree that the

 CCSO violated the terms of that decree for the purpose of this case.               Additional

 allegations are necessary.    See Coleman v. Cook Cnty., No. 10 C 2388, 2011 WL

 2647891, *15 (N.D. Ill. June 22, 2011) (finding the plaintiff did not “offer any facts that

 support the conclusion that the wrongdoing he has alleged is the product of County

 custom or practice” even when the office in question was under a Shakman decree.)



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        Plaintiff’s reliance on Burress is similarly misplaced. In that case, one employee

 was found liable for retaliation based on his decision to disband a unit of the Cook

 County Jail that had supported Dart’s election opponent. Burruss v. Cook Cnty. Sheriff’s

 Office, No. 08 C 6621, 2013 WL 3754006, at *1 (N.D. Ill. July 15, 2013). But the

 actions of a single employee in a separate division of the CCSO cannot give rise to an

 inference of a widespread practice. See Thomas, 604 F.3d at 303 (noting that an “isolated

 act of an individual employee . . . would be insufficient to establish a widespread custom

 or practice”). These few isolated incidents of retaliation alone do not reach the level of

 an implicit policy, practice, or usage necessary under Monell.

        The second avenue by which Bless attempts to establish a widespread practice is

 by arguing that there is a gap in expressed policies at the CCSO. The express policy at

 issue is the CCSO’s “zero tolerance” policy for political retaliation. Bless has alleged

 that the office has failed to reprimand the employee found liable in Burruss in violation

 of this zero tolerance policy. But, again, a single deviation from a policy does not

 constitute a large enough gap to impose Monell liability. The particular way the CCSO

 chose to approach the fallout from the Burruss decision does not imply that retaliation is

 “permanent” at the CCSO or is “well settled as to constitute a custom or usage with the

 force of law.” Wragg, 604 F.3d at 467–68.

        This leaves only the “final policymaker” route towards municipal liability. Here

 too the analysis discussed above in the context of racial discrimination claims controls.

 The Illinois legislature has delegated final policymaking authority over employment

 decisions in the CCSO to the Merit Board. See 55 Ill. Comp. Stat. § 5/3-7012. The

 proper avenue for a legal remedy against that Board is a state law administrative review



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 claim.    Bless cannot sue the Merit Board for retaliation because he was never its

 employee. Averhart, 752 F.3d at 1106. Thus Bless has failed to sufficiently alleged that

 a government entity is liable for his constitutional deprivation under Monell.

          In sum, the Court dismisses without prejudice Count III against Sheriff Dart in his

 official capacity, the CCSO, and the Merit Board. Because Bless has not put forth a

 viable claim against any governmental body, Cook County is not a necessary party, and

 all counts against it also are dismissed. Carver v. Sheriff of LaSalle Cnty., 324 F.3d 947,

 847– 48 (7th Cir. 2003).

          E. Plaintiff’s Motion to File a Third Amended Complaint

          Bless seeks leave to file a Third Amended Complaint to add a new count based on

 a Title VII race discrimination claim. Given that the scope of any amended complaint

 would be limited by this order, the Court denies Bless’ motion to file a Third Amendment

 Complaint without prejudice. Bless may file a renewed motion for leave to file a third

 amended complaint consistent with this order within 21 days of the entry of this order.

 He may seek to add the Title VII claim in the renewed motion.




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                                       IV. Conclusion

        For the reasons provided herein, the Court grants the Merit Board Defendants’

 motion to dismiss [84]. The Court grants the Merit Board Defendants’ motion to dismiss

 the Amended Complaint against the individual Merit Board Defendants with prejudice.

 Defendants Nally, Brazier, Hogan, Widup, Rirodan, Dalicandro, Tyson, Rosales, and

 Winters are hereby terminated as defendants in this case. The Court grants the motion to

 dismiss Count II against the Merit Board with prejudice. The Court grants the motion to

 dismiss Counts I and III against the Merit Board without prejudice.

        The Court grants in part and denies in part Sheriff Defendants’ motions to dismiss

 [91]. The Court grants the Sheriff Defendants’ motion to dismiss Count II against all

 parties with prejudice. The Court also grants the Sheriff Defendants’ motion to dismiss

 Counts I and III against the government entities and Sheriff Dart in his official capacity

 without prejudice. The Court denies the Sheriff Defendants’ motion to dismiss Counts I

 and III against the individual Sheriff Defendants.

        Counts I and III against the Sheriff Defendants sued in their individual capacity

 and Count IV for administrative review of the Merit Board’s decision remain.

        The Court denies Plaintiff’s motion to file a Third Amended Complaint [98]

 without prejudice. Plaintiff may file a renewed motion for leave to file a third amended

 complaint consistent with this order within 21 days of its entry.

 SO ORDERED                                    ENTER: 2/27/15


                                               _________________________
                                               JOHN Z. LEE
                                               United States District Judge




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